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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
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   11   MANUEL PEREZ SOTO,                       Case No. 2:17-cv-08299-MWF-MAA
   12                       Petitioner,
               v.                                JUDGMENT
   13
   14   NEIL MCDOWELL, Warden,
   15                       Respondent.
   16
   17         Pursuant to the Order Accepting Report and Recommendation of the United
   18   States Magistrate Judge,
   19         IT IS ORDERED AND ADJUDGED that the Petition is dismissed and the
   20   action is dismissed without prejudice.
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   22   DATED: October 16, 2020
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   24                                     ____________________________________
                                          MICHAEL W. FITZGERALD
   25                                     UNITED STATES DISTRICT JUDGE
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